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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA



                      Case No. 23-cv-23630-BLOOM/Otazo-Reyes

  ALLIANT, LLC,

        Plaintiff,

  v.

  CENPOS, LLC, and
  ELAVON, INC.,

        Defendants.
  ________________________________/


                      Case No. 23-cv-21810-BLOOM/Otazo-Reyes

  MICHAEL H. ANDERSON,

         Plaintiff,

  v.

  ROYAL CARIBBEAN CRUISES, LTD.,
  d/b/a Royal Caribbean Group

         Defendant.
  ________________________________/
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                          Case No. 22-cv-24242-BLOOM/Otazo-Reyes


  MISLEYDIS MORELL JIMENEZ,

        Plaintiff,

  v.

  HOLIDAY CVS, LLC,
  a Florida Corporation

        Defendant.
  _______________________________/


                          Case No. 23-cv-21320-BLOOM/Otazo-Reyes

  JEANETTE COLLAZO,

         Plaintiff,

  v.

  CARNIVAL CORPORATION,

         Defendant.
  ___________________________/


                          Case No. 20-cv-23610-BLOOM/Otazo-Reyes


  ENOLA HUNT WOLFINGER,

        Plaintiff,
  v.

  CARNIVAL CORPORATION d/b/a
  CARNIVAL CRUISE LINES, INC.,

        Defendant.
  _____________________________________/




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                      Case No. 23-cv-23301-BLOOM/Otazo-Reyes


  ANGEL CABRERA ZAMORA,

        Plaintiff,

  v.

  RED CIVIL, LLC,

        Defendant.
  ___________________________/


                      Case No. 23-cv-23263-BLOOM/Otazo-Reyes


  CURT’TERRIA ROBERTSON

        Plaintiff,

  v.

  WALGREEN CO.,

        Defendant.
  ___________________________/


                      Case No. 23-cv-22802-BLOOM/Otazo-Reyes


  SCOTT POWELL,

        Plaintiff,

  v.

  RACETRAC, INC.,

        Defendant.
  _________________________/




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                      Case No. 23-cv-22703-BLOOM/Otazo-Reyes

  BELLINI CONDOMINIUM
  ASSOCIATION, INC.,

        Plaintiff,

  v.

  VILLAGE OF BAL HARBOUR, FLORIDA,

        Defendant.
  ______________________________________/


                      Case No. 23-cv-22642-BLOOM/Otazo-Reyes

  JACK DOHENY COMPANIES, INC.,

        Plaintiff,

  v.

  DRAINAGE PARTNERS, LLC, et al.,

        Defendants.
  ________________________________/


                      Case No. 23-cv-22121-BLOOM/Otazo-Reyes

  SHELLY PRIDE,

        Plaintiff,

  v.

  CARNIVAL CORPORATION,

        Defendant.
  ________________________________/




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                          Case No. 23-cv-21973-BLOOM/Otazo-Reyes


  WILSON LOUIS,

         Plaintiff,

  v.

  TARGET CORPORATION,

        Defendant.
  _________________________/

                          Case No. 23-cv-21913-BLOOM/Otazo-Reyes

  LAURA BUSH,
  a citizen and resident of New York

         Plaintiff,

  v.

  CARNIVAL CORPORATION,
  a Panamanian Corporation
  d/b/a CARNIVAL CRUISE LINES

        Defendant.
  ________________________________/

                          Case No. 23-cv-21853-BLOOM/Otazo-Reyes

  JESSICA QUINTERO,
  an individual

         Plaintiff,

  v.

  CAPTIAL ONE, NATIONAL ASSOCIATION,
  a national association
  EXPERIAN INFORMATION SOLUTIONS, INC.,
  a foreign for-profit corporation

        Defendants.
  _________________________________________/


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                      Case No. 23-cv-21723-BLOOM/Otazo-Reyes

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  ADRIAN ABRAMOVICH,

        Defendant.
  ________________________________/


                      Case No. 23-cv-21462-BLOOM/Otazo-Reyes

  BOBBY RHODES,

        Plaintiff,

  v.

  HARTFORD LIFE AND ACCIDENT
  INSURANCE COMPANY,

        Defendant.
  ________________________________/


                      Case No. 23-cv-21262-BLOOM/Otazo-Reyes

  HUDSON EXCESS INSURANCE COMPANY,

        Plaintiff,

  v.

  GEORGE IGNACIO PINO, et al.,

        Defendants.
  _________________________________________/




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                           Case No. 23-cv-21252-BLOOM/Otazo-Reyes


  MICHAEL DONOVAN,

        Plaintiff,

  v.

  CHRISTIAN QUIMBY,

        Defendant.
  _________________________/


                           Case No. 23-cv-21171-BLOOM/Otazo-Reyes

  EULALIA MARTIN-VIANA,

        Plaintiff,

  v.

  ROYAL CARIBBEAN CRUISES LTD.,

        Defendant.
  ___________________________________/




                           Case No. 23-cv-20991-BLOOM/Otazo-Reyes

  OHL USA, INC.,
  a Delaware corporation

         Plaintiff,

  v.

  OLD REPUBLIC SURETY COMPANY,
  a Wisconsin insurance company

         Defendant.
  __________________________________/



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Case 1:23-cv-22276-BB Document 104 Entered on FLSD Docket 11/14/2023 Page 8 of 35




                          Case No. 23-cv-20832-BLOOM/Otazo-Reyes

  MELANIE HARRIS,

        Plaintiff,

  v.

  CARNIVAL CORPORATION,
  d/b/a Carnival Cruise Lines

        Defendant.
  ________________________________/


                          Case No. 22-cv-24242-BLOOM/Otazo-Reyes

  MISLEYDIS MORELL JIMENEZ,

        Plaintiff,

  v.

  HOLIDAY CVS, LLC,
  a Florida Corporation

        Defendant.
  _________________________/


                          Case No. 22-cv-23513-BLOOM/Otazo-Reyes


  JOSE GONZALEZ,

        Plaintiff,

  v.

  THE INDEPENDENT ORDER OF FORESTERS,

        Defendant.
  _________________________________________/




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                      Case No. 22-cv-23171-BLOOM/Otazo-Reyes

  SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

  v.

  ARBITRADE LTD.;
  CRYPTOBONTIX INC.;
  TORY R.J. HOGG;
  JAMES L. GOLDBERG;
  STEPHEN L. BRAVERMAN;
  MAX W. BARBER;
  SION TRADING FZE,

         Defendants.
  ________________________________/

                      Case No. 22-cv-22913-BLOOM/Otazo-Reyes

  MARIETTE WATERS,

        Plaintiff,

  v.

  CELEBRITY CRUISES, INC.,
  a Foreign Corporation,

         Defendant.
  __________________________/


                      Case No. 22-cv-22853-BLOOM/Otazo-Reyes

  CHARLOTTE SMITH,

        Plaintiff,

  v.

  CARNIVAL CORPORATION & PLC,

        Defendant.
  ________________________________/


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                          Case No. 23-cv-20239-BLOOM/Otazo-Reyes


   ARRUBARRENA,

          Plaintiff,

   v.

   FLORIDA POP, LLC, doing business
   as POPEYE’S LOUISIANA
   KITCHEN

         Defendant.
   ________________________________/

                          Case No. 21-cv-21079-BLOOM/Otazo-Reyes

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   v.

   MINTBROKER INTERNATIONAL, LTD.
   and GUY GENTILE,

         Defendants.
   ____________________________________/

                          Case No. 23-cv-23370-BLOOM/Otazo-Reyes

   ROSANNA ROSARIO, an individual,

          Plaintiff,

   v.

   JH PORTFOLIO DEBT EQUITIES, LLC,
   a Florida Limited Liability Company, and
   LVNV FUNDING, LLC, a Foreign
   Limited Liability Company,

         Defendants.
   ____________________________________/


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                         Case No. 23-cv-22427-BLOOM/Otazo-Reyes

   PRIME PROPERTY & CASUALTY
   INSURANCE INC.,

         Plaintiff,

   v.

   OLD REPUBLIC INSURANCE
   COMPANY and PENSKE TRUCK
   LEASING CO., L.P.,

         Defendants.
   _________________________________/

                         Case No. 23-cv-22188-BLOOM/Otazo-Reyes

   LENORA MOUNTAIN,

         Plaintiff,

   v.

   EMIRATES, INC., a foreign business
   corporation,

         Defendant.
   ________________________________/

                         Case No. 23-cv-20658-BLOOM/Otazo-Reyes

   PAMELA NEWTON,

         Plaintiff,

   v.

   ROYAL CARIBBEAN CRUISES LTD.,

         Defendant.
   __________________________________/




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                       Case No. 23-cv-21788-BLOOM/Otazo-Reyes

   MONTAZE BROZ, LLC, a Florida
   Limited Liability Company,

         Plaintiff,

   v.

   GLOBAL OCEAN LINE, INC., a Florida
   for Profit Company,

         Defendant.
   ___________________________________/

                       Case No. 23-cv-21287-BLOOM/Otazo-Reyes

   GS HOLISTIC, LLC,

         Plaintiff,

   v.

   MARKET 49 SMOKE SHOP INC.,
   doing business as MR. SMOKEY SMOKE
   SHOPS #1, and MARK ROLLINS

         Defendants.
   ____________________________________/

                       Case No. 23-cv-20580-BLOOM/Otazo-Reyes

   NAUTILUS INSURANCE COMPANY,

         Plaintiff,

   v.

   ELITE PROTECTION, LLC,
   BILLY BOURCIQUOT, and
   EDUARDO A. GONZALEZ
   GOTERA,

         Defendants.
   ___________________________________/



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                           Case No. 23-cv-21399-BLOOM/Otazo-Reyes

   JAMES GIULIANI and
   ANGELA GIULIANI,

          Plaintiffs,

   v.

   SEND ENTERPRISES, LLC,
   DRIVE DEVELOPMENT, LLC, and
   NICOLE PEARL,

         Defendants.
   ________________________________/

                           Case No. 23-cv-22539-BLOOM/Otazo-Reyes

   DOGWOOD STATE BANK,
   a North Carolina state-chartered bank,

          Plaintiff,

   v.

   MANAL S. MOUSSA-OLIVER,
   individually and MICHAEL W. OLIVER,
   individually,

         Defendants.
   ___________________________________/

                           Case No. 23-cv-23328-BLOOM/Otazo-Reyes

   JESUS GONZALEZ,

          Plaintiff,

   v.

   PENNEY OPCO, LLC, d/b/a
   JC PENNEY STORE #2478, and
   CTL PROPCO I, LCC,

         Defendants.
   ________________________________/


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                          Case No. 23-cv-21539-BLOOM/Otazo-Reyes

   CATIA DOS SANTOS, and
   FRANCESCO DESIDERI

          Plaintiffs,

   v.

   TUDOR HOUSE CONDOMINIUM ASSOCIATION,
   INC., and BERTHA ZAYAS,

         Defendants.
   _____________________________________________/

                          Case No. 23-cv-21829-BLOOM/Otazo-Reyes

   DIANE CAFARELLI,

          Plaintiff,

   v.

   ROYAL CARIBBEAN CRUISES, LTD,
   d/b/a Royal Caribbean Group,

         Defendant.
   ___________________________________/

                          Case No. 23-cv-22348-BLOOM/Otazo-Reyes

   ALAIN RIOUX, as Parent and
   Natural Guardian of K.R., a Minor,

          Plaintiff,

   v.

   CARNIVAL CORPORATION, d/b/a
   CARNIVAL CRUISE LINE,

         Defendant.
   ________________________________/




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                        Case No. 23-cv-22527-BLOOM/Otazo-Reyes


   STEINER ENTERPRISES INC.,

         Plaintiff,

   v.

   CENTURY SURETY COMPANY,

         Defendant.
   ______________________________/


                        Case No. 23-cv-22568-BLOOM/Otazo-Reyes

   RICHARD QUINTANA, an individual,

         Plaintiff,

   v.

   AMERICAN FIRE SPRINKLER
   SERVICES, LLC, a Florida Limited
   Liability Company,

         Defendant.
   ________________________________/

                        Case No. 23-cv-21670-BLOOM/Otazo-Reyes

   ALYSSA CARTER, and
   LUIS FRANCO, JR.,

         Plaintiffs,

   v.

   THE UNITED STATES OF AMERICA,

         Defendant.
   __________________________________/




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                           Case No. 23-cv-22508-BLOOM/Otazo-Reyes

   DRAGAN NIKOLIC,

          Plaintiff,

   v.

   CARNIVAL CORP. & PLC, d/b/a
   CARNIVAL CORP., and ADORA
   CRUISES LIMITED, f/k/a CSSC
   CARNIVAL CRUISE SHIPPING
   LIMITED,

         Defendants.
   ________________________________/

                           Case No. 23-cv-22497-BLOOM/Otazo-Reyes

   KAREN LOCKLEY,

          Plaintiff,

   v.

   ROYAL CARIBBEAN CRUISES LTD,
   a Liberian Corporation,

         Defendant.
   __________________________________/

                           Case No. 23-cv-22900-BLOOM/Otazo-Reyes


   PETER DAVIDSON,

          Plaintiff,

   v.

   CROSSROADS SDI, INC.,
   a Florida Profit Corporation, and
   MARC HURWITZ, individually,

         Defendants.
   _____________________________/


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                       Case No. 23-cv-22980-BLOOM/Otazo-Reyes


   ZENAIDA TORRES and
   ALEJANDRO ORTIZ,

         Plaintiffs,

   v.

   SCOTTSDALE INSURANCE
   COMPANY,

         Defendant.
   _________________________/


                       Case No. 23-cv-23018-BLOOM/Otazo-Reyes


   MSP RECOVERY CLAIMS, SERIES
   LLC, and MSP RECOVERY CLAIMS,
   SERIES 44 LLC,

         Plaintiffs,

   v.

   ACE PROPERTY AND
   CASUALTY INSURANCE COMPANY,
   ACE INSURANCE COMPANY OF THE
   MIDWEST, ACE FIRE UNDERWRITERS
   INSURANCE COMPANY, and ACE
   AMERICAN INSURANCE COMPANY,

         Defendants.
   ____________________________________/




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                            Case No. 23-cv-22558-BLOOM/Otazo-Reyes

   JULIO GARCIA,

          Plaintiff,

   v.

   KW PROPERTY MANAGEMENT &
   CONSULTING, LLC,

         Defendant.
   ________________________________/


                            Case No. 23-cv-22749-BLOOM/Otazo-Reyes

   CHEP USA,

          Plaintiff,

   v.

   CIENFUEGOS PALLETS CO.,

         Defendant.
   ________________________________/

                                 Case No. 23-cv-21388-BLOOM

   EMILE PARKER,
   a.k.a. Andein Jean-Pierre,
           Plaintiff,

   v.

   U.S. Attorney General,

         Defendant.
   ________________________________/




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                       Case No. 23-cv-23197-BLOOM/Otazo-Reyes


   MARTA E. LOPEZ,

         Plaintiff,

   v.

   BRIDGEPREP ACADEMY, INC.,
   D/B/A BRIDGEPREP ACADEMY
   OF GREATER MIAMI,

         Defendant.
   ______________________________/


                       Case No. 23-cv-22938-BLOOM/Otazo-Reyes

   LYNNE CALOGGERO,

         Plaintiff,

   v.

   CARNIVAL CORPORATION,

         Defendant.
   ________________________________/


                       Case No. 23-cv-23338-BLOOM/Otazo-Reyes


   IVETTE MARTINEZ,

         Plaintiff,

   v.

   PETSMART, INC., a Foreign
   For Profit Corporation,

         Defendant.
   _________________________/



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                           Case No. 23-cv-22907-BLOOM/Otazo-Reyes

   JAMES RIVER INSURANCE COMPANY,

           Plaintiff,

   v.

   R.I.C., INC., et al.,

         Defendants.
   _____________________________________/


                           Case No. 23-cv-23180-BLOOM/Otazo-Reyes

   K&M HANDLING, LLC,

           Plaintiff,

   v.

   SEABOARD MARINA, LTD., INC.,

         Defendant.
   ________________________________/


                           Case No. 23-cv-22218-BLOOM/Otazo-Reyes

   CANDICE WISE,

           Plaintiff,

   v.

   CARNIVAL CORPORATION, d/b/a
   CARNIVAL CRUISE LINES,

         Defendant.
   ________________________________/




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                       Case No. 23-cv-23429-BLOOM/Otazo-Reyes

   LANETTE BURLEY,

         Plaintiff,

   v.

   CARNIVAL CORPORATION, d/b/a
   CARNIVAL CRUISE LINE,

         Defendant.
   ________________________________/


                       Case No. 23-cv-23627-BLOOM/Otazo-Reyes

   SECURITIES AND EXCHANGE
   COMMISSION,

         Plaintiff,

   v.

   EMPIREX CAPITAL LLC, and
   RAFAEL ALBERTO VARGAS
   GONZALEZ, a/k/a RAFAEL
   VARGAS,

         Defendants.
   ________________________________/

                       Case No. 23-cv-23808-BLOOM/Otazo-Reyes


   AMARO FOODS ENTERPRISES, INC.,

         Plaintiff,

   v.

   SCOTTSDALE INSURANCE COMPANY,

         Defendant.
   _____________________________________/



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                          Case No. 23-cv-22276-BLOOM/Otazo-Reyes

   PATRICK MULLER and
   MOUNA BOUZID,
        Plaintiffs,
   v.

   ITEB ZAIBET, et al.,
         Defendants.
                                           /


                          Case No. 23-cv-21826-BLOOM/Otazo-Reyes

   NIRANJANA TRIVEDI,

         Plaintiff,

   v.

   ROYAL CARIBBEAN CRUISES LTD,
   and ONESPA WORLD, LLC,

         Defendants.
   __________________________________/


                          Case No. 23-cv-21796-BLOOM/Otazo-Reyes

   LEWIS YOUNGMAN,

         Plaintiff,

   v.

   ROYAL CARIBBEAN CRUISES LTD,

         Defendant.
   ________________________________/




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                       Case No. 23-cv-21275-BLOOM/Otazo-Reyes

   EDDY J. PHILLIPEAUX,

         Plaintiff,

   v.

   MIAMI APARTMENTS INVESTORS, LLC,
   et al.,

         Defendants.
   _______________________________________/


                       Case No. 23-cv-21276-BLOOM/Otazo-Reyes


   MONICA BARNETT,

         Plaintiff,

   v.

   ROYAL CARIBBEAN CRUISES LTD.,

         Defendant.
   ___________________________________/


                       Case No. 23-cv-23005-BLOOM/Otazo-Reyes

   MARINA GANT,

         Plaintiff,

   v.

   NCL (BAHAMAS) LTD,
   d/b/a NORWEGIAN CRUISE LINES,

         Defendant.
   ________________________________/




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Case 1:23-cv-22276-BB Document 104 Entered on FLSD Docket 11/14/2023 Page 24 of 35




                        Case No. 22-cv-21585-BLOOM/Otazo-Reyes

   RICHARD PATT,

         Plaintiff,

   v.

   VOLKSWAGEN GROUP OF AMERICA,
   INC. d/b/a Audi of America, Inc., and
   AUDI AG,

         Defendants.
   ___________________________________/




                        Case No. 23-cv-20655-BLOOM/Otazo-Reyes

   TONI ANN GALATI,

         Plaintiff,

   v.

   ROYAL CARIBBEAN CRUISES LTD.,

         Defendant.
   ____________________________________/

                        Case No. 23-cv-21040-BLOOM/ Otazo-Reyes

   JOHN DOE, et al.,

         Plaintiffs,

   v.

   CARNIVAL CORPORATION,
   ONESPAWORLD (BAHAMAS) LTD.,

         Defendants.
   _________________________________/




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                        Case No. 23-cv-20545-BLOOM/Otazo-Reyes

   DONNA GALLUCIO,

         Plaintiff,

   v.

   CARNIVAL CORPORATION,

         Defendant.
   ___________________________/


                        Case No. 23-cv-20886-BLOOM/Otazo-Reyes

   LASHUNDA HOWARD,

         Plaintiff,

   v.

   GUCCI AMERICA, INC.,

         Defendant.
   ________________________________/


                                 Case No. 22-cv-24004-BLOOM

   ESTATE OF CHERISH PANKEY,

         Plaintiff,
   v.

   CARNIVAL CORPORATION,
   d/b/a Carnival Cruise Line,

         Defendant.
   _______________________________/




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                             Case No. 21-cv-21940-BLOOM/Otazo-Reyes

   NEIMA BENAVIDES, as Personal
   Representative of the Estate of Naibel
   Benavides Leon, deceased,

           Plaintiff,

   v.

   TESLA, INC., a/k/a. Tesla Florida, Inc.,

          Defendant.
   _________________________________/


                             Case No. 22-cv-24000-BLOOM/Otazo-Reyes

   ROTHFOS CORPORATION,

          Plaintiff,

   v.

   H&H COFFEE INVESTMENTS, LLC,

         Defendant.
   __________________________________/


                             Case No. 22-cv-23074-BLOOM/Otazo-Reyes

   OCTAVIO COLLADO,
   for himself and all others similarly situated,

           Plaintiff,

   v.

   450 NORTH RIVER DRIVE, LLC, et al.,

          Defendants.
   _____________________________________/




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                           Case No. 22-cv-23135-BLOOM/Otazo-Reyes

   CHAUNDRA HORNSBY,
   as guardian of T.K., a minor,

          Plaintiff,

   v.

   CARNIVAL CORPORATION,
   d/b/a/ Carnival Cruise Lines,

         Defendant.
   ________________________________/


                           Case No. 22-cv-22594-BLOOM/Otazo-Reyes


   MOVIE PROP RENTALS LLC, et al.,

          Plaintiffs,

   v.

   THE KINGDOM OF GOD GLOBAL
   CHURCH, et al.,

         Defendants.
   _______________________________/


                           Case No. 23-cv-23546-BLOOM/Otazo-Reyes

   CRAIG CARMAN,
        Plaintiff,

   v.

   UNITED HEALTHCARE LIFE
   AND ACCIDENT INSURANCE COMPANY,
         Defendant.
   ______________________________________/




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                       Case No. 23-cv-23025-BLOOM/Otazo-Reyes

   PATRICIA FOLEY,

         Plaintiff,

   v.

   CARNIVAL CORPORATION,

         Defendant.
   ________________________________/


                       Case No. 23-cv-23514-BLOOM/Otazo-Reyes

   SHEKINA THOMPSON,
        Plaintiff,

   v.

   OCTAPHARMA PLASMA, INC.,
         Defendant.
   ________________________________/


                       Case No. 23-cv-23125-BLOOM/Otazo-Reyes

   TERESA NEEPER,
        Plaintiff,

   v.

   CARNIVAL CORPORATION,
         Defendant.
   ________________________________/




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                       Case No. 23-cv-22844-BLOOM/Otazo-Reyes

   ADELA CARTER,

         Plaintiff,

   v.

   CARNIVAL CORPORATION,

         Defendant.
   ________________________________/


                       Case No. 23-cv-23045-BLOOM/Otazo-Reyes

   EDUARDO LIERMO,
       Plaintiff,

   v.

   NATIONAL CASUALTY COMPANY,
         Defendant.
   __________________________________/


                       Case No. 23-cv-23654-BLOOM/Otazo-Reyes


   RICHARD C. MURPHY, III
   and KATHLEEN T. MURPHY,
         Plaintiffs,

   v.

   AIRWAY AIR CHARTER, INC.,
   VENTURE AIR SOLUTIONS, INC.,
   ALEX GUTIERREZ, and
   ATLANTIC AVIATION, INC.,
         Defendants.
   _______________________________/




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                            Case No. 23-cv-23074-BLOOM/Otazo-Reyes

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   ANA ROSA GONZALEZ and
   ANA IZAGUIRRE,

         Defendants.
   ________________________________/


                            Case No. 23-cv-21704-BLOOM/Otazo-Reyes

   SHELLY DAWN FINCH,

          Plaintiff,

   v.

   CARNIVAL CORPORATION,

         Defendant.
   ________________________________/


                          Case No. 23-cv-23214-BLOOM/OTAZO-REYES



   JACUBB COLEMAN,
   on behalf of himself and others similarly situated,

          Plaintiff,

   v.

   SMARTLINK, LLC,

         Defendant.
   __________________________________________/




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                       Case No. 23-cv-21495-BLOOM/Otazo-Reyes

   RINALDI ENTERPRISES OF FLORIDA, LLC,

         Plaintiff,

   v.

   UNITED STATES FIRE INSURANCE COMPANY,

         Defendant.
   _____________________________________________/


                       Case No. 23-cv-20995-BLOOM/Otazo-Reyes


   ELAINE BERKOWITZ,

         Plaintiff,

   v.

   EQUIFAX INFORMATION SERVICES, LLC,
   and BARCLAYS BANK DELAWARE,

         Defendants.
   _______________________________________/


                       Case No. 23-cv-22256-BLOOM/Otazo-Reyes

   NOVO NORDISK A/S and
   NOVO NORDISK INC.,

         Plaintiffs,

   v.

   EKZOTIKA CORP d/b/a COSMETIC
   LASER PROFESSIONALS MED SPA,

         Defendant.
   _________________________________/




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                       Case No. 23-cv-22625-BLOOM/Otazo-Reyes

   MICHELLE HARLEY,

         Plaintiff,

   v.

   CELEBRITY CRUISES INC.,

         Defendant.
   ___________________________/


                       Case No. 23-cv-22794-BLOOM/Otazo-Reyes


   REINA BLANCO,

         Plaintiff,

   v.

   THE HABIT RESTAURANTS, LLC
   d/b/a THE HABIT BURGER GRILL,

         Defendant.
   _______________________________/


                       Case No. 23-cv-23036-BLOOM/Otazo-Reyes

   ANA CECILIA HERNANDEZ,
        Plaintiff,

   v.

   MT. HAWLEY INSURANCE COMPANY,
         Defendants.
   _____________________________________/




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                       Case No. 23-cv-24156-BLOOM/Otazo-Reyes

   RENÉ GARCIA, JAVIER FERNÁNDEZ,
   CRYSTAL WAGAR, MACK BERNARD
   and WILLIAM PROCTOR, Plaintiffs,

   vs.

   KERRIE J. STILLMAN, EXECUTIVE DIRECTOR,
   FLORIDA COMMISSION ON ETHICS, in her official capacity;
   JOHN GRANT,
   CHAIRMAN,
   FLORIDA COMMISSION ON ETHICS, in his official capacity;
   GLENTON “GLEN” GILZEAN, JR.,
   VICE CHAIRMAN,
   FLORIDA COMMISSION ON ETHICS, in his official capacity;
   MICHELLE ANCHORS, COMMISSIONER,
   FLORIDA COMMISSION ON ETHICS, in her official capacity;
   WILLIAM P. CERVONE,
   COMMISSIONER,
   FLORIDA COMMISSION ON ETHICS, in his official capacity;
   DON GAETZ, COMMISSIONER,
   FLORIDA COMMISSION ON ETHICS, in his official capacity;
   WILLIAM “WILLIE” N. MEGGS, COMMISSIONER,
   FLORIDA COMMISSION ON ETHICS, in his official capacity;
   ED H. MOORE, COMMISSIONER,
   FLORIDA COMMISSION ON ETHICS, in his official capacity;
   WENGAY M. NEWTON, SR., COMMISSIONER,
   FLORIDA COMMISSION ON ETHICS, in his official capacity;
   JIM WALDMAN, COMMISSIONER,
   FLORIDA COMMISSION ON ETHICS, in his official capacity;
   ASHLEY MOODY, ATTORNEY GENERAL,
   STATE OF FLORIDA, in her official capacity;
   and JIMMY PATRONIS, CHIEF FINANCIAL OFFICER,
   STATE OF FLORIDA, in his official capacity, Defendants.
   ______________________________________________________/




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                                   Case No. 23-mc-22764-BLOOM

   SECURITIES AND EXCHANGE
   COMMISSION,

          Applicant,
   v.

   BRANDON CHARNAS,

         Respondent.
   ________________________________/

                 ORDER REASSIGNING CASE(S) TO NEW PAIRED
         MAGISTRATE JUDGE CHIEF MAGISTRATE JUDGE EDWIN G. TORRES

          THIS CAUSE is before the Court upon the United States District Court for the Southern

   District of Florida Administrative Order 2023-81, entered on October 27, 2023 (“Administrative

   Order”). The Administrative Order amends the Magistrate Judge Pairing Assignment Plan in the

   Southern District of Florida as set forth in Administrative Orders 2020-45, 2020-45A, 2020-45B,

   2020-91, 2021-53, 2022-6, 2022-6A, 2022-47, 2022-67, 2022-79 and 2023-9. In particular, as of

   October 27, 2023, Chief Magistrate Judge Edwin G. Torres is paired with Judge Beth Bloom for

   all cases filed in the Miami Division. See Administrative Order at 1 tbl. The Court had previously

   referred all discovery matters in the above-styled actions to Magistrate Judge Alicia M. Otazo-

   Reyes pursuant to 28 U.S.C. § 636 and this District’s Magistrate Judge Rules.

          Accordingly, in order to align the Court’s Orders with the Administrative Order and to

   assist the Court in the management of this case, it is ORDERED that the Scheduling Orders in the

   above-styled actions are AMENDED as follows:

              1. As of November 16, 2023, discovery matters shall no longer be referred to

                  Magistrate Judge Alicia M. Otazo-Reyes. However, Magistrate Judge Otazo-Reyes

                  will preside over those matters she has set for hearing as of the date of this Order.



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                2. As of November 16, 2023, all discovery matters are referred to Chief Magistrate

                   Judge Edwin G. Torres. Furthermore, pursuant to 28 U.S.C. § 636(c)(1), the

                   parties may consent to final disposition of motions, and trial and final disposition,

                   by Magistrate Judge Torres. The deadline for submitting consent is as stated in

                   the Court’s Scheduling Order in each case.

                3. Discovery Disputes. If parties are unable to resolve their discovery disputes

                   without Court intervention, the parties must contact Magistrate Judge Torres’s

                   chambers—which are located at 99 Northeast Fourth Street, 10th floor, Miami, FL

                   3313—via telephone at (305) 523-5750 to ascertain the available dates and times

                   for a discovery hearing. Magistrate Judge Torres holds a discovery calendar every

                   Thursday and only on Thursdays. The parties should further consult Magistrate

                   Judge Torres’s standing discovery order, which sets forth procedures to presenting

                   discovery disputes and will be issued following the entry of this Order. The

                   individual calling Magistrate Judge Torres’s chambers must leave a message that

                   identifies only the parties’ case number and a call back number if the individual’s

                   call goes to voicemail.

          DONE AND ORDERED in Chambers at Miami, Florida, on November 13, 2023.




                                                            _________________________________
                                                            BETH BLOOM
                                                            UNITED STATES DISTRICT JUDGE

   Copies to:

   Counsel of Record



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